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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION


  WINN-DIXIE STORES, INC.,
                                                      Case No. 03:15-cv-1143-J-39-BJD-
                   Plaintiff,                         PDB

            v.

  SOUTHEAST MILK, INC., et al.,

                   Defendants.



                 NOTICE OF COMPLIANCE WITH COURT ORDER (DOC. 254)

           Defendants, by and through undersigned counsel, hereby comply with Court Order

 Doc. 254 and file on the public docket unsealed versions of the following documents, which are

 filed here with as Exhibits A-J to this Notice:

      Ex.         Original Docket Description
                        No.
      A               188-14      Ex. 14 - Excerpts of the March 30, 2018 deposition transcript of
                                  Dwight Moore
      B               188-15      Ex. 15 - Excerpts of the May 11, 2018 deposition of Donald
                                  Bernos
      C               188-17      Ex. 17 - Email from Graham Leary, Vice President-Strategic
                                  Sourcing of Winn-Dixie, to Bennet Nussbaum, Chief Financial
                                  Officer of Winn-Dixie, and others dated February 20, 2009
      D               188-29      Ex. 29- Plaintiffs’ Amended Response to Defendants’ First Set
                                  of Requests for Admission dated May 30, 2018
       E               243-2      Ex. 2 - Excerpts from the Expert Report of Dr. John Connor,
                                  dated December 18, 2017
       F               243-3      Ex. 3 - Plaintiffs’ Third Amended Responses to Defendant
                                  DFA’s First Set of Interrogatories, dated August 6, 2018
      G                243-5      Ex. 5 - Plaintiffs’ Amended Response to Defendants’ First Set
                                  of Requests for Admission, dated May 30, 2018
      H               243-10      Ex. 10 - Excerpts from the March 6, 2018 deposition transcript
                                  of Graham Leary
       I              243-11      Ex. 11 - Excerpts from the February 13, 2018 deposition
                                  transcript of Plaintiff’s Expert, Dr. John M. Connor
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      J           243-12   Ex. 12 - Plaintiffs’ Amended Response to Defendants’ First Set
                           of Requests for Production, dated May 30, 2018


 Dated: April 15, 2019


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                                    CERTIFICATE OF SERVICE
           I certify that on April 15, 2019, I electronically filed the foregoing with the Clerk of

 Court pursuant to the Administrative Procedures for Electronic Filing in Civil and Criminal

 Cases of this Court by using the CM/ECF System, which will send a notice of electronic filing to

 all counsel of record.




                                                          /s/Cindy A. Laquidara_________
                                                          Cindy A. Laquidara, Esq.
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